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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


  PAIGE HOPKINS and                               )
  CHRISTOPHER HOPKINS, Special Co-                )
  Administrators of the Estate of                 )
  DONALD C. HOPKINS, deceased,                    )
                                                  )   Case No. 16-CV-1125-SMY-DGW
                        Plaintiffs,               )
                                                  )
  vs.                                             )
                                                  )
  THOMAS C. GARGRAVE and                          )
  ASHBURY LOGISTICS LLC,                          )
                                                  )
                        Defendants.               )


                            JUDGMENT IN A CIVIL ACTION

        IT IS HEREBY ORDERED AND ADJUDGED that, having been advised by the

 parties that all claims in this matter have been settled or otherwise resolved, Plaintiffs' claims

 against the Defendants are DISMISSED with prejudice. Accordingly, the Clerk of Court is

 DIRECTED to close this case.


 DATED: October 31, 2018
                                              MARGARET M. ROBERTIE, Clerk of Court

                                              By: s/ Stacie Hurst, Deputy Clerk

 Approved:      s/ Staci M. Yandle_
                STACI M. YANDLE
                UNITED STATES DISTRICT JUDGE
